        Case 22-12079-amc                        Doc          Filed 09/19/24 Entered 09/19/24 00:34:55                                    Desc Main
                                                              Document      Page 1 of 8
 Fill in this information to identify the case:

 Debtor 1              Scott James Kyle

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the: Eastern District of Pennsylvania (Philadelphia)
                                                                                       (State)
 Case number           22-12079




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                       12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor:              Carrington Mortgage Services, LLC                        Court claim no. (if known): 10

   Last 4 digits of any number you use to                                                  Date of payment change:
   identify the debtor's account:                             XXXXXX5768                   Must be at least 21 days after date       11/01/2024
                                                                                           of this notice


                                                                                           New total payment:                        $ 1,532.79
                                                                                           Principal, interest, and escrow, if any

 Part 1:        Escrow Account Payment Adjustment


 1. Will there be a change in the debtor's escrow account payment?
            No
      ✓     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                       Current escrow payment:            $ 537.20                                       New escrow payment: $ 456.33


 Part 2:        Mortgage Payment Adjustment


 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?
      ✓     No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                       Current interest rate                                    %                        New interest rate:                       %

                       Current principal and interest payment: $                                         New principal and interest payment: $


 Part 3:        Other Payment Change


 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
      ✓     No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
                       Reason for change:
                       Current mortgage payment:          $                                              New mortgage payment: $




Official Form 410S1                                                    Notice of Mortgage Payment Change                                              page 1
        Case 22-12079-amc                             Doc       Filed 09/19/24 Entered 09/19/24 00:34:55                    Desc Main
                                                                Document      Page 2 of 8
Debtor 1           Scott James Kyle                                                       Case number (if known) 22-12079
                   First Name        Middle Name        Last Name




 Part 4:        Sign Here



    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
    ✓        I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:



      /s/ Randall Miller                                                                       Date September,14, 2024
    Signature



    Print:                 Randall Miller__                                                   Title     Agent
                           First Name                  Middle Name      Last Name



    Company                Carrington Mortgage Services, LLC



    Address                43252 Woodward Avenue, Suite180______________________________
                           Number              Street

                           Bloomfield Hills, MI 48302______________________________________
                           City                                        State       ZIP Code



Contact phone              (248) 335-9200     Email         bankruptcy@rsmalaw.com




Official Form 410S1                                                    Notice of Mortgage Payment Change                            page 2
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                                                                                                                                   0032-02-b1-0058372-0001-0169995
                                                           Document      Page 3 of 8
                                                1600 South Douglass Road                  Your Escrow Statement
                                                Suites 110 & 200-A
                                                Anaheim, CA 92806                           Property Address: 2437 S CARLISLE ST
                                                                                                        PHILADELPHIA, PA 19145
                                                                                                       Statement Date: 08/23/24
        Important information inside!                                                                 Loan number:

                                                                                                                 Questions?
        0058372     SP          0032       -C02-P00000-I
                                                                                                                (800) 561-4567
                                                                                                  www.CarringtonMortgage.com
                  SCOTT KYLE
                  2437 S CARLISLE ST
                  PHILADELPHIA       PA 19145




        Thank you for being the best part of our Carrington family.
        You are receiving this statement because we have completed your escrow analysis review.

        Your escrow account is an account that we manage on your behalf to pay for your insurance
        and taxes. For more information and resources regarding escrow, login to your Carrington Account
        and select “Escrow Summary” under “Customer Request” on the left menu.


        YOUR NEW PAYMENT: EFFECTIVE 11/01/24
                                            CURRENT                NEW                              ANALYSIS SUMMARY
                                            PAYMENT             PAYMENT     CHANGE

        Principal & interest                $1,076.46           $1,076.46    ----------
                                                                                                    You have a surplus of:
        Escrow payment                          $462.58           $456.33      -$6.25
                                                                                                           $67.34
        Shortage payment                         $74.62           -          -$74.62

        Total                               $1,613.66           $1,532.79   -$80.87

        Your escrow account has a surplus and you are receiving a check in the amount of $67.34.

        Your escrow payment over the next 12 months:
        We estimate your total taxes and/or insurance payments to be $5,476.03 for the next 12 months. Here is
        how we calculated your new monthy escrow payment:
        Home insurance                                     $1,882.00           Total escrow                            $5,476.03
        FHA mtg ins                                        $1,785.48           Divided by 12 months                           12
        City tax                                           $1,808.55
                                                                               New monthly escrow payment                $456.33
        Total escrow                                       $5,476.03

        Any changes to your taxes and insurance are determined by your taxing authorities and insurance
        providers, not Carrington Mortgage Services, LLC.



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                                                                                                                                 0032-02-b1-0058372-0001-0169995
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        PROJECTED ESCROW ACTIVITY 11/24 – 10/25
                        PAYMENT TO           ESTIMATED                                    PROJECTED              REQUIRED
        DATE                                           DESCRIPTION
                           ESCROW        DISBURSEMENT                                ESCROW BALANCE        ESCROW BALANCE
                                                                BEGINNING BALANCE:           $953.27               $885.93
        11/24               $456.33             $148.79   FHA mtg ins                        $1,260.81             $1,193.47
        12/24               $456.33             $148.79   FHA mtg ins                       $1,568.35               $1,501.01
        01/25               $456.33             $148.79   FHA mtg ins                       $1,875.89             $1,808.55
        02/25               $456.33             $148.79   FHA mtg ins                       $2,183.43              $2,116.09
        03/25               $456.33             $148.79   FHA mtg ins                         $682.42                $615.08
                            ----------        $1,808.55   City tax                            ----------            ----------
        04/25               $456.33             $148.79   FHA mtg ins                         $989.96               $922.62
        05/25               $456.33             $148.79   FHA mtg ins                       $1,297.50              $1,230.16
        06/25               $456.33             $148.79   FHA mtg ins                       $1,605.04             $1,537.70
        07/25               $456.33             $148.79   FHA mtg ins                        $1,912.58            $1,845.24
        08/25               $456.33             $148.79   FHA mtg ins                       $2,220.12              $2,152.78
        09/25               $456.33             $148.79   FHA mtg ins                       $2,527.66             $2,460.32
        10/25               $456.33           $1,882.00   Home insurance                      $953.20               $885.86
                            ----------          $148.79   FHA mtg ins                         ----------            ----------



            Lowest Projected             Lowest Projected Balance = the lowest projected point over your 12 month
             Balance (03/25)             analysis period. This number represents the running balance in your escrow
                                         account estimated by your monthly payments to escrow minus any tax and
                 $682.42                 insurance disbursements made on your behalf.


                    –

            Minimum Amount                Minimum Amount Required = two months of escrow payments, excluding
                Required                  mortgage insurance, to account for any tax and insurance increases. This
                                          amount is regulated by the Real Estate Settlement Procedures Act (RESPA),
                  $615.08                 your mortgage contract, or state law.


                    =

                Escrow Surplus            Escrow Surplus Amount = the difference between your lowest projected
                   Amount                 balance and the minimum amount required determines if there is a shortage
                  $67.34                  or surplus in your escrow account.




                                                                                                                   Page 2 of 6
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                                                                                                                                               0032-02-b1-0058372-0002-0169996
                                                      Document      Page 5 of 8            Statement Date: 08/23/24
                                                                                                        Loan number:




ESCROW ACCOUNT HISTORY 11/23 – 10/24
        PAYMENTS TO ESCROW                                  PAYMENTS FROM ESCROW                                  ESCROW BALANCE

Date      Projected          Actual     Projected     Description               Actual Description               Projected         Actual
                                                                                      BEGINNING BALANCE:          $878.42           $12.90
11/23       $462.58 *        $537.20      $152.54     FHA mtg ins              $152.54 FHA mtg ins                $1,188.46        $397.56
12/23       $462.58 *        $537.20      $152.54     FHA mtg ins              $152.54 FHA mtg ins                $1,498.50        $782.22
01/24       $462.58 *        $537.20      $152.54     FHA mtg ins              $152.54 FHA mtg ins                $1,808.54       $1,166.88
02/24       $462.58 *        $537.20      $152.54     FHA mtg ins              $152.54 FHA mtg ins                 $2,118.58      $1,551.54
03/24       $462.58 *          ------     $152.54 * FHA mtg ins                $152.54 FHA mtg ins                 $620.08        -$409.55
                                        $1,808.54     City tax               $1,808.55 City tax
04/24       $462.58 *    $1,074.40        $152.54     FHA mtg ins              $152.54 FHA mtg ins                  $930.12         $512.31
05/24       $462.58 *        $537.20      $152.54     FHA mtg ins              $152.54 FHA mtg ins                $1,240.16       $896.97
06/24       $462.58 *        $537.20      $152.54     FHA mtg ins              $152.54 FHA mtg ins                $1,550.20       $1,281.63
07/24       $462.58 *        $537.20      $152.54 * FHA mtg ins                $148.79 FHA mtg ins                $1,860.24      $1,670.04
08/24       $462.58 *        $537.20      $152.54 * FHA mtg ins                $148.79 FHA mtg ins                $2,170.28        $1,991.11
                                              -----                             $67.34 Escrow surplus
09/24       $462.58            ------     $152.54     FHA mtg ins                 ------                          $2,480.32        $1,991.11
10/24       $462.58            ------   $1,912.00     Home insurance              ------                           $878.36         $1,991.11
                                          $152.54     FHA mtg ins                 ------
Total      $5,550.96    $5,372.00       $5,551.02                            $3,393.79

An asterisk (*) marks any difference from what was projected in either the amount or date.

Anticipated escrow payments up to escrow analysis effective date:
09/24              $537.20
10/24              $537.20


Anticipated escrow disbursements up to escrow analysis effective date:
10/24             $1,882.00 Home insurance
09/24              $148.79 FHA mtg ins
10/24              $148.79 FHA mtg ins


                             For more information and resources regarding escrow, login to your Carrington Account and select
                             “Escrow Summary” under “Customer Request” on the left menu.

                             You can also check out our www.CarringtonMortgage.com/learningcenter and search “Escrow” for
                             additional resources.

                             If you prefer to speak with someone, please contact our customer service team at (800) 561-4567.




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ADDITIONAL INFORMATION                                                     SCRA DISCLOSURE-
                                                                           MILITARY PERSONNEL/SERVICEMEMBERS
VERBAL INQUIRIES & COMPLAINTS                                              If you or your spouse is a member of the military, please contact
For verbal inquiries and complaints about your mortgage loan,              us immediately. The federal Servicemembers Civil Relief Act and
please contact the CUSTOMER SERVICE DEPARTMENT for Carrington              comparable state laws afford significant protections and benefits
Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER            to eligible military service personnel, including protections from
SERVICE DEPARTMENT for Carrington Mortgage Services, LLC is                foreclosure as well as interest rate relief. For additional information
toll free and you may call from 8:00 a.m. to 9:00 p.m. Eastern Time,       and to determine eligibility please contact our Military Assistance
Monday through Friday. You may also visit our website at https://          Team toll free at 1-888-267-5474.
carringtonmortgage.com/.
                                                                           NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED
IMPORTANT BANKRUPTCY NOTICE                                                WRITTEN REQUESTS (QWR)
If you have been discharged from personal liability on the mortgage        Written complaints and inquiries classified as Notices of Error and
because of bankruptcy proceedings and have not reaffirmed                  Information Requests or QWRs must be submitted to Carrington
the mortgage, or if you are the subject of a pending bankruptcy            Mortgage Services, LLC by fax to 1-800-486-5134, or in writing to
proceeding, this letter is not an attempt to collect a debt from you but   Carrington Mortgage Services, LLC, and Attention: Customer Service,
merely provides informational notice regarding the status of the loan.     P.O. Box 5001, Westfield, IN 46074. Please include your loan number
If you are represented by an attorney with respect to your mortgage,       on all pages of the correspondence. You have the right to request
please forward this document to your attorney.                             documents we relied upon in reaching our determination. You may
                                                                           request such documents or receive further assistance by contacting
CREDIT REPORTING AND DIRECT DISPUTES                                       the Customer Service Department for Carrington Mortgage Services,
We may report information about your account to credit bureaus.            LLC toll free at 1-800-561-4567, Monday through Friday, 8:00 a.m.
Late payments, missed payments, or other defaults on your account          to 9:00 p.m. Eastern Time. You may also visit our website at https://
may be reflected in your credit report. As required by law, you are        carringtonmortgage.com/.
hereby notified that a negative credit report reflecting on your credit
record may be submitted to a credit reporting agency if you fail
to fulfill the terms of your credit obligations. If you have concerns
regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute
to Carrington Mortgage Services, LLC by fax to 1-800-486-5134 or
in writing to Carrington Mortgage Services, LLC, and Attention:
Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include
your loan number on all pages of the correspondence.

MINI MIRANDA
This communication is from a debt collector and it is for the purpose
of collecting a debt and any information obtained will be used for
that purpose. This notice is required by the provisions of the Fair Debt
Collection Practices Act and does not imply that we are attempting to
collect money from anyone who has discharged the debt under the
bankruptcy laws of the United States.

HUD COUNSELOR INFORMATION
If you would like counseling or assistance, you may obtain a list
of HUD-approved homeownership counselors or counseling
organizations in your area by calling the HUD nationwide toll-free
telephone number at 1-800-569-4287 or toll-free TDD 1-800-877-8339,
or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You
can also contact the CFPB at 1-855-411-2372, or by going to www.
consumerfinance.gov/find-a-housing-counselor.

EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Federal Equal Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, or age (provided the
applicant has the capacity to enter into a binding contract); because
all or part of the applicant’s income derives from any public assistance
program; or because the applicant has, in good faith, exercised any
right under the Consumer Credit Protection Act. The Federal Agency
that administers Carrington Mortgage Services, LLC’s compliance with
this law is the Federal Trade Commission, Equal Credit Opportunity,
Washington, DC 20580.




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CHECK
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                                         1600 South Douglass Road
                                         Suites 110 & 200-A
                                         Anaheim, CA 92806
                                                                                 Your Escrow Refund
                                                                                 Property Address: 2437 S CARLISLE ST
                                                                                             PHILADELPHIA PA 19145
        Important information inside!                                                     Loan number:




        YOU HAVE AN ESCROW REFUND!

        Your escrow account has a surplus and you are receiving a refund.

        Please cash this check as soon as possible. This check will become void after 180 days.




                                    Questions? (800) 561-4567 • www.CarringtonMortgage.com



                                         1600 South Douglass Road                                                 88-88/1113
                                         Suites 110 & 200-A                        Check #:
                                         Anaheim, CA 92806
                                                                                   Date:         August 23, 2024

        PAY TO THE   SCOTT KYLE
        ORDER OF




                            VOID
        Sixty Seven and 34/100                                             DOLLARS                $67.34
                                                                                        Check is void after 180 days
        JPMorgan Chase Bank, N.A.
        Dallas, TX
        note1 SCOTT KYLE
                                                                                              VOID
        note2
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                      UNITED STATES BANKRUPTCY COURT
              EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
                 _______________________________________________

In Re:                                                              Case No: 22-12079 - Chapter: 13
                                                                             Judge: Ashely M. Chan
Scott James Kyle

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on September 14, 2024, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Scott James Kyle                   Debtor's Attorney                Chapter 13 Trustee
2437 S. Carlisle Street            Michael I. Assad                 Kenneth E. West
Philadelphia, PA 19145             1500 Walnut St                   1234 Market Street
                                   Ste 900                          Suite 1813
                                   Philadelphia, PA 19102           Philadelphia, PA 19107


                                                                    U.S. TrusteeUnited States Trustee
                                                                    900 Market Street
                                                                    Suite 320
                                                                    Philadelphia, PA 19107




The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
